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                                           #:1752



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12                              UNITED STATES DISTRICT COURT
13                          CENTRAL DISTRICT OF CALIFORNIA
14
     TELESIGN CORPORATION,                           ) Case No. 2:16-cv-02106-PSG-SS
15                                                   )
                   Plaintiff,                        ) NOTICE OF WITHDRAWAL OF
16   v.                                              ) DOCKET ENTRY NUMBER 69
                                                     )
17   TWILIO, INC.,                                   ) Honorable Philip S. Gutierrez
                    Defendant.                       )
18                                                   )
                                                     )
19                                                   )
20                                                   )
                                                     )
21                                                   )
22

23          PLEASE TAKE NOTICE that plaintiff TeleSign Corporation hereby withdraws Docket

24   Entry Number 69, which contained TeleSign’s unredacted Opposition to Motion to Stay and related

25   Exhibits, lodged under Seal on May 1, 2017. That submission contained two errors, one in the

26   manner in which the unredacted Opposition was printed, and one in the filing event selected on the

27   Court’s CM/ECF system. A corrected submission will be lodged forthwith.

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                                                                          NOTICE OF WITHDRAWAL
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                                   #:1753



 1   Dated: May 1, 2017               Signed:/s/ Tony M. Diab
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